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UNITED STATES DISTRICT COURT
DISTRICT OF MAINE
Civil Action No. 06-34-P-H

WAITES LANDING WATERFRONT
ASSOCIATION,

Plaintiff
STIPULATION OF DISMISSAL
Vv.

ONE BEACON INSURANCE COMPANY,

Defendant

NOW COME the parties, by and through counsel, and hereby dismiss their

claims in the above matter, with prejudice and without costs to either party.

DATE: by M) 2206 PX Hira ~
eV —Kowlse K. Thomas, Esq.

Attorney for the Plaintiff
DATE: lay 4 2606

Martica S. Douglas, Esq., Bar No. 558
Attorney for Defendant
OneBeacon Insurance Company

CERTIFICATE OF SERVICE
I hereby certify that on May it 2006 I electronically filed the above document
with the Clerk of court using the CM/ECF system, which will send notice of such filing
to Martica S. Douglas, Esq.
Dated at Portland, Maine, this If day of May, 2006.

/s/ Louise K. Thomas
Louise K. Thomas, Esq.

